                                                                     May 03, 2023

                                                                     s/ D. Olszewski




                                                   23      MJ   69




5/3/2023




  Case 2:23-mj-00069-WED   Filed 05/03/23   Page 1 of 24   Document 1
                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Rodolfo Ayala, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain cellular telephone assigned call number (773) 552-2958,

(“the SUBJECT PHONE”), that is stored at premises controlled by T-Mobile, a wireless

telephone service provider headquartered at 4 Sylvan Way, Parsippany, NJ 07054. The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. §

2703(c)(1)(A) to require T-Mobile to disclose to the government copies of the information

further described in Section I of Attachment B. Upon receipt of the information described in

Section I of Attachment B, government-authorized persons will review the information to locate

items described in Section II of Attachment B.

       2.      I am a Task Force Officer with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (hereinafter “ATF”). As such, I am “an investigator or officer charged by the

Attorney General with the duty of enforcing any of the criminal, seizure, or forfeiture provisions

of the laws of the United States,” within the meaning of Section 3051(a) of Title 18, United

States Code; that is, an officer of the United States who is empowered by law to conduct

investigations of, execute warrants and to make arrests for offenses against the United States and

offenses enumerated in United States Code Title 18 and Title 21. I have worked full-time as a

law enforcement officer for the past twenty (20) years; and I have been a federally-deputized,

full time Task Force Officer with the Bureau of Alcohol, Tobacco, Firearms and Explosives for

the past twelve (12) years. Your affiant is currently assigned to the Chicago Field Division-




       Case 2:23-mj-00069-WED           Filed 05/03/23      Page 2 of 24       Document 1
Milwaukee field office. I have received training on and conducted investigations of violations

of the National Firearms Act, Gun Control Act, and Title 18, United States Code, Sections

922(g), 924(c) and others. I have also received training and conducted investigations involving

illicit drugs and the distribution of illicit drugs in violation of Title 21, United States Code,

Sections 841, 843, 846 and others.

        3.      Your affiant has participated in the execution of numerous search warrants in which

weapons and/or narcotics were seized. Your affiant is familiar with the different types and calibers

of firearms and ammunition commonly possessed for illegal purposes, as well as the methods used

to conduct narcotics trafficking.

        4.      Your affiant is professionally trained in the use of firearms and your affiant has

experience working with confidential informants, citizen informants, and other sources of

information.

        5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

        6.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of Title 18, United States Code, Sections 922(d) and 924(a)(6) have been committed,

are being committed, and will be committed by Sonya D. Brown (“BROWN”). There is also

probable cause to search the information described in Attachment A for evidence of these crimes

as further described in Attachment B.




                                                   2

       Case 2:23-mj-00069-WED             Filed 05/03/23       Page 3 of 24       Document 1
                                       PROBABLE CAUSE

       7.        In April of 2023, ATF initiated an investigation into Sonya D. BROWN, and

others known and unknown, for their involvement in Knowingly Making False Statements in

Connection with the Purchase of Firearms, in violation of Title 18, United States Code, Section

924(a)(6), and Providing a Firearm to a Prohibited Person, in violation of Title 18, United States

Code, Section 922(d).

       8.        Since the inception of this investigation, I have checked the Multiple Firearm

Sales database and determined that Sonya D BROWN (XX-XX-1974) has approximately six

Multiple Sales reports since February 26, 2023. Since that date, BROWN has purchased at least

12 Glock pistols. I further learned that approximately 4 of the 6 multiple-firearm purchases

occurred at gun shows in Wisconsin.

       9.        I also contact with the Wisconsin Department of Justice regarding firearm

approvals or denials. I was advised that in the last 30 days, BROWN had been approved 12

different times since March 17, 2023, to purchase firearms. I further learned that BROWN had

requested to purchased firearms from six (6) different federally licensed firearms dealers

(“FFL”). The records reflected that BROWN had requested to purchase firearms from different

FFLs on the same date on four (4) different occasions.

       10.       I later obtained the ATF Form 4473 for the 19 firearms purchased by BROWN.

The following is the information of the firearms purchased as well as the dates and locations of

the purchases:

                    a. On February 26, 2023, BROWN purchased a Glock 30GEN4 (serial

                        #BYNU972) .45 caliber pistol; and a Glock 23 (serial #AGSL198) .40




                                                  3

       Case 2:23-mj-00069-WED             Filed 05/03/23     Page 4 of 24      Document 1
           caliber pistol from Tom’s Military Arms & Gun Shop at the Bob & Rocco

           Gun Show in Waukesha, WI.

        b. On March 17, 2023, BROWN purchased a Glock 30GEN4 (serial

           #BYGN834) .45 caliber pistol from Tom’s Military Arms & Gun Shop at

           the Bob & Rocco Gun Show in West Bend, WI.

        c. On March 17, 2023, BROWN purchased a Glock 29SF (serial

           #BYAL765) 10mm pistol from Integrity Arms LLC at the Bob and Rocco

           Gun Show in West Bend, WI.

        d. On March 19, 2023, BROWN purchased a Glock G30S (serial

           #BYAP674) .45 caliber pistol from WI Firearms & Transfers at the West

           Bend Gun Show in West Bend, WI.

        e. On March 19, 2023, BROWN purchased a Glock G23 (serial #BXZY813)

           .40 caliber pistol from Milwaukee Tactical at the Bob and Rocco Gun

           Show in West Bend, WI.

        f. On March 22, 023, BROWN purchased a Glock 29 (serial #AGSC834)

           10mm pistol; and a Glock 29 (serial #AGSC836) 10mm pistol from Tom’s

           Military Arms & Gun Shop in Fond Du Lac, WI.

        g. On March 24, 2023, BROWN purchased a Glock G23 (serial #BYNN501)

           .40 caliber pistol from Milwaukee Tactical at The Big Gun Show in

           Menomonee Falls, WI.

        h. On March 26, 2023, BROWN purchased a Glock 30GEN4 (serial

           #BYGN307) .45 caliber pistol; and a Glock 43X (serial #AHMU619)




                                    4

Case 2:23-mj-00069-WED     Filed 05/03/23     Page 5 of 24     Document 1
                     9mm caliber pistol from Tom’s Military Arms & Gun Shop at the Bob &

                     Rocco Gun Show in Manitowoc, WI.

                 i. On April 1, 2023, BROWN purchased a Glock G29SF (serial #BYAK125)

                     10mm pistol; and a Glock G29SF (serial #BYAK126) 10mm pistol from

                     Milwaukee Tactical at The Big Gun Show in Dousman, WI.

                 j. On April 1, 2023, BROWN purchased a Glock G29SF (serial #BYAL971)

                     10mm pistol; and a Glock G29SF (serial #AGSC815) 10mm pistol from

                     EGUN Direct in Butler, WI.

                 k. On April 8, 2023, BROWN purchased a Glock 30SF (serial #BYGR38)

                     .45 caliber pistol from DMR Services at the Bob and Rocco Gun Show in

                     Middleton, WI.

                 l. On April 8, 2023, BROWN purchased a Glock 26 (serial #AGSM393)

                     9mm pistol from Tom’s Military Arms & Gun Shop at Bob and Rocco

                     Gun Show in Middleton, WI.

                 m. On April 12, 2023, BROWN purchased a Glock G33GEN3 (serial

                     #BXDR590) .357 pistol; and a Glock G33GEN3 (serial #BXDR562) .357

                     pistol from EGUN Direct in Butler, WI.

       11.    The ATF Form 4473’s for each of the firearms listed above show that BROWN

provided her address as 9079 N. Park Plaza Court, Milwaukee, WI and her telephone number as

773-552-2958. Further, the forms showed the following:

                 a. Under question 21.a., which asks, “Are you the actual transferee/buyer of

                     the firearm(s) listed on this form and any continuation sheet(s) (ATF Form

                     5300.9A)? Warning: You are not the actual transferee/buyer if you



                                              5

      Case 2:23-mj-00069-WED          Filed 05/03/23     Page 6 of 24     Document 1
                      are acquiring the firearm(s) on behalf of another person. If you are

                      not the actual transferee/buyer, the licensee cannot transfer the

                      firearm(s) to you.”, BROWN checked “Yes”.

                  b. Under Section D questions 30 and 31, which must be completed

                      personally by the transferee/buyer if the transfer of the firearm(s) occurs

                      on a different day from the date the transferee/buyer signed originally,

                      BROWN signed and dated. By signing here, BROWN certified that all of

                      her responses that were originally made on the form were still true,

                      correct, and complete.

       12.    Regarding the firearms purchased by BROWN from Tom’s Military and Gun

Shop, I spoke to T.L.H. who is the owner of the FFL. T.L.H. stated that he remembered selling

firearms to BROWN on multiple occasions. T.L.H. further stated that he remembered that

BROWN was with a black male during the first firearm purchase on February 26, 2023. T.L.H.

remembered that the black male stated that he was a Police Officer but couldn’t remember if the

black male stated for which department. T.L.H. stated that the same black male was with

BROWN on March 17, 2023, when he sold BROWN additional firearms. T.L.H. stated that

BROWN was talking with the unknown black male about which firearms she should get next.

       13.    T.L.H. stated that BROWN came to his FFL location in Fond Du Lac, Wisconsin,

on March 22, 2023, to pick up some firearms she already had purchased on March 17, 2023.

T.L.H. stated that BROWN entered the store by herself. T.L.H. stated that on March 26, 2023,

he sold BROWN two additional Glock pistols at the Bob and Rocco Gun Show in Manitowoc,

WI. T.L.H. believed that BROWN was by herself at that time, as well.




                                                6

       Case 2:23-mj-00069-WED           Filed 05/03/23      Page 7 of 24      Document 1
       14.     T.L.H. stated that on April 8, 2023, he sold BROWN another Glock pistol.

T.L.H. stated that on that occasion, BROWN was with the same black male she had been with on

February 26, 2023, and March 17, 2023. T.L.H. stated that he remembered that the black male

was using a wheelchair or scooter of some sort due to a broken foot. The black male told T.L.H.

that he had gotten hurt while chasing a bad guy. T.L.H. further remembered that the black male

suggested to BROWN which Glock she should buy because she did not have a Glock 26.

       15.     Regarding the firearms purchased by BROWN at Milwaukee Tactical LLC, I

spoke to the owner J.G. J.G. stated that he remembered selling firearms to BROWN. J.G.

stated that the first time he sold a firearm to BROWN was on March 19, 2023. J.G. stated that he

had a table at the Bob & Rocco Gun Show in West Bend, WI. J.G. stated while at his table, a

black male walked up to his table and talked about the firearms he had for sale. A short time

later, BROWN walked over to the table, and the black male mentioned that he and the female he

was with (BROWN) were both members of law enforcement. J.G. stated that once all of the

paperwork was finalized, they all shook hands and the black male looked at BROWN and asked

BROWN if he should tell J.G. who he is. J.G. recalled the black male stating that he was above

the local level, and that his name was something similar to “Cimarron Smith” and that he was a

Chief or Sheriff of Brookfield or something similar to that.

       16.     J.G. stated that on March 24, 2023, he had a table at the Big Gun Show in

Menomonee Falls, WI. J.G. stated he observed BROWN and that BROWN was with the same

black male from March 19, 2023. J.G. stated that the black male started to look at a 308 rifle that

he had displayed on the table. J.G. stated while BROWN and J.G. were doing the background

check and other paperwork, the black male questioned him on the 308 rifle, but J.G. explained

that he did not want to sell it because it was his own personal rifle and that it was only for



                                                  7

       Case 2:23-mj-00069-WED            Filed 05/03/23        Page 8 of 24     Document 1
display. J.G. stated that the black male then gave him a business card and told him to email or

text him a price on putting together a complete upper receiver at a good price because they are

good repeat customers. The card had the word “one” on it, along with the email address of

moneyispower244@gmail.com and phone number of 773-850-2511.

       17.     J.G. stated that on April 1, 2023, he had a table at The Big Gun Show in

Dousman, WI. J.G. stated that BROWN had previously inquired about purchasing two Glock

pistols from him over the phone. J.G. stated that BROWN showed up to the Gun Show by

herself. J.G. asked BROWN where her boyfriend was. BROWN answered that he was in the car

because he had some kind of knee or ankle surgery and that he did not want to hop around on

crutches. BROWN advised J.G. that he could go see him in the car if we wanted.

       18.     I reviewed BROWN’s Wisconsin Identification card and noticed that BROWN

was issued the Identification card on February 24, 2023. The first firearms purchased by

BROWN, that I was aware of, was on February 26, 2023. The address listed for BROWN on her

Wisconsin Identification Card was 9079 N. Park Plaza Court, Milwaukee, Wisconsin.

       19.     I also conducted surveillance at 9079 N. Park Plaza Court, Milwaukee, WI, and

discovered that the address was actually in the City of Brown Deer not Milwaukee. The

surveillance was done in order to determine a “Pattern of Life” for BROWN in order to conduct

an interview of BROWN at some point. On the five different days and times of surveillance, I

did not see her coming or going from the residence. I further spoke to the President of the

property, K.C. K.C. stated that they had no record of a Sonya D. BROWN living at the address

of 9079 N. Park Plaza Court, Brown Deer, WI.

       20.     Regarding the firearms purchased by BROWN from EGUN Direct in Butler, WI,

they were able to provide me surveillance video from outside. While reviewing the surveillance



                                                8

       Case 2:23-mj-00069-WED           Filed 05/03/23     Page 9 of 24      Document 1
video, I observed that on April 1, 2023, BROWN is dropped off at EGUN Direct in a silver Ford

Escape SUV with an Illinois license plate, unknown numbers/letters. The footage shows that

BROWN exited the Ford Escape from the rear passenger door on the driver’s side. The Ford

Escape then moved after BROWN exited, and at one point, the front passenger door opened and

a person appeared to look out of the car. Upon exiting the business, BROWN opened and

entered the Ford Escape through the rear passenger door on the driver’s side.

       21.     I also reviewed the surveillance video from EGUN Direct dated April 12, 2023.

BROWN arrived in the same silver Ford Escape SUV with an unknown Illinois license plate.

BROWN exited the auto from the driver’s side. Upon exiting the business and walking back to

the auto, BROWN, who had purchased two firearms, handed the two gun boxes to the front seat

passenger through an the open front passenger window.

       22.     A records check revealed that BROWN has a silver 2018 Ford Escape SUV with

Illinois plate of BP87370 and VIN #1FMCU0G99JUB48983 registered to her. The address

listed for the Escape and BROWN is 433 S. Lombard Avenue, Oak Park, Ilinois.

       23.     A further check of BROWN’s Ford Escape SUV with Illinois plate of BP87370

revealed an Automated License Plate Reader (“ALPR”) camera “hit” on April 12, 2023, at 1:50

p.m. in the area of N. 124th Street and W. Bradley Road in Menomonee Falls, WI. This was the

same date BROWN went to EGUN Direct in Butler, WI, to purchase two Glock pistols.

       24.     A check of BROWN’s silver 2018 Ford Escape SUV with Illinois plate of

BP87370 in Illinois revealed an ALPR camera “hit” on several dates, including: April 26, 2023,

at 2:02 a.m. in Chicago, IL; on April 26, 2023, at 1:52 a.m. in Chicago, IL; on April 25, 2023, at

12:02 p.m. in Gary, IN; on April 24, 2023, at 8:03 p.m. in Chicago, IL; and on April 17, 2023, at

5:52 p.m. in Naperville, IL.



                                                9

      Case 2:23-mj-00069-WED           Filed 05/03/23      Page 10 of 24        Document 1
       25.    During my investigation, I became aware that the phone number provided by

BROWN to the FFLs, 773-552-2958, had come up in another investigation. During that

investigation, a suspect by the name of Simione J. DUNN (DOB XX-XX-1974), had been

developed.

       26.    A records check of DUNN revealed that DUNN had an address of 433 S.

Lombard Avenue, Apartment #38, Oak Park, IL. A search of a law enforcement database further

revealed that DUNN uses the email address of moneyispower244@gmail.com.

       27.    A criminal history check of DUNN revealed that he had the following Illinois

felony convictions: manufacture/deliver controlled substances in Case No. 93CF181819921;

armed violence in Case No. 94CF1855011; manufacture/deliver controlled substances in Case

No. 94CF29575011; and Murder in Case No 98CR2273001. DUNN is currently on Illinois State

Parole for the Murder case.

       28.    On April 25, 2023, I learned that BROWN had been granted an Illinois Firearm

Owner’s Identification “FOID” card (#2111980962) on March 28, 2023. I know that in order to

receive a FOID card, you have to be a resident of Illinois. BROWN listed her residence as 1040

N. Parkside Av., Apartment #1, Chicago, IL.

       29.    On April 25, 2023, I also became aware that BROWN had a valid state of Illinois

Carrying Concealed Weapon Permit which had been issued on September 20, 2021. On the

Carrying Concealed Weapon Permit she had a listed address of 1040 N. Parkside Ave.,

Apartment #1, Chicago, IL.

       30.    On April 25, 2023, a Special Agent conducted surveillance at 433 S Lombard

Ave, Apartment #38, Oak Park, IL. The Special Agent did not see BROWN, DUNN, or the

aforementioned silver Ford Escape. However, the Special Agent did observe that the mailbox



                                              10

      Case 2:23-mj-00069-WED          Filed 05/03/23     Page 11 of 24     Document 1
for apartment #38 had the following names listed: Sonya Brown, Raymond Rivera, S. Dunn, and

S. Smith.

       31.     On April 26, 2023, Special Agents and I were aware that BROWN would be

traveling to EGUN Direct in Butler, Wisconsin, to complete paperwork for two Glock pistols

that BROWN had purchased online. BROWN agreed to be at EGUN Direct around 12:00 p.m.

On April 26, 2023, around 10:30 a.m., a Special Agent observed BROWN and an unknown

black male exit 433 S. Lombard Ave., Oak Park, Ilinois, and enter the 2018 Silver Ford Escape

with Illinois plate of BP87370. The Special Agent observed that the black male was driving the

Ford Escape, and the agent observed the SUV proceed toward the highway.

       32.     On April 26, 2023, at around 12:00 p.m., Special Agents observed the 2018 Silver

Ford Escape with Illinois plate of BP87370 arrive at EGUN Direct in Butler. Special Agents

observed BROWN exit the auto from the front passenger seat and enter EGUN Direct. As the

2018 Silver Ford Escape with Illinois plate of BP87370 was parked, a Special Agent walked past

the SUV and positively identified the driver as DUNN.

       33.     An E-Trace search revealed that no firearms purchased by BROWN have been

recovered by law enforcement at the time of this report. I checked the Milwaukee Police

Department database (Tri-Tech) to see if BROWN had reported any firearms as stolen, which

she has not.

       34.     In my training and experience, I have learned that T-Mobile is a company that

provides cellular telephone access to the general public. I also know that providers of cellular

telephone service have technical capabilities that allow them to collect and generate information

about the locations of the cellular telephones to which they provide service, including cell-site

data, also known as “tower/face information” or “cell tower/sector records.” Cell-site data



                                                11

      Case 2:23-mj-00069-WED            Filed 05/03/23      Page 12 of 24      Document 1
identifies the “cell towers” (i.e., antenna towers covering specific geographic areas) that received

a radio signal from the cellular telephone and, in some cases, the “sector” (i.e., faces of the

towers) to which the telephone connected. These towers are often a half-mile or more apart,

even in urban areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower

closest to a wireless device does not necessarily serve every call made to or from that device.

Accordingly, cell-site data provides an approximate location of the cellular telephone but is

typically less precise than other types of location information, such as E-911 Phase II data or

Global Positioning Device (“GPS”) data.

       35.     Based on my training and experience, I know that T-Mobile can collect cell-site

data about the SUBJECT PHONE. I also know that wireless providers such as T-Mobile

typically collect and retain cell-site data pertaining to cellular phones to which they provide

service in their normal course of business in order to use this information for various business-

related purposes.

       36.     Based on my training and experience, I know that wireless providers such as T-

Mobile typically collect and retain information about their subscribers in their normal course of

business. This information can include basic personal information about the subscriber, such as

name and address, and the method(s) of payment (such as credit card account number) provided

by the subscriber to pay for wireless telephone service. I also know that wireless providers such

as T-Mobile typically collect and retain information about their subscribers’ use of the wireless

service, such as records about calls or other communications sent or received by a particular

phone and other transactional records, in their normal course of business. In my training and

experience, this information may constitute evidence of the crimes under investigation because




                                                 12

      Case 2:23-mj-00069-WED             Filed 05/03/23      Page 13 of 24       Document 1
the information can be used to identify the SUBJECT PHONE’s user or users and may assist in

the identification of co-conspirators and/or victims.

                                AUTHORIZATION REQUEST

       37.     Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       38.     I further request that the Court direct T-Mobile to disclose to the government any

information described in Section I of Attachment B that is within its possession, custody, or

control. Because the warrant will be served on T-Mobile who will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the

requested warrant at any time in the day or night.

       39.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of

the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation, including by

giving targets an opportunity to destroy or tamper with evidence, change patterns of behavior,

notify confederates, and flee from prosecution.




                                                  13

      Case 2:23-mj-00069-WED            Filed 05/03/23       Page 14 of 24       Document 1
                                      ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to records and information associated with the cellular telephone

assigned call number (773) 552-2958, (“the Account”), that are stored at premises controlled by

T-Mobile (“the Provider”), headquartered at 4 Sylvan Way, Parsippany, NJ 07054.




      Case 2:23-mj-00069-WED          Filed 05/03/23      Page 15 of 24      Document 1
                                    ATTACHMENT B
                              Particular Things to be Seized
I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A for the time period January

1st, 2023, through the Present.

        a. The following information about the customers or subscribers of the Account:

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long-distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

              viii. Means and source of payment for such service (including any credit card
                    or bank account number) and billing records.


                                              2

     Case 2:23-mj-00069-WED          Filed 05/03/23     Page 16 of 24       Document 1
            b. All records and other information (not including the contents of communications)

                relating to wire and electronic communications sent or received by the Account,

                including:

                    i. the date and time of the communication, the method of the

                        communication, and the source and destination of the communication

                        (such as the source and destination telephone numbers (call detail

                        records), email addresses, and IP addresses); and

                    ii. information regarding the cell tower and antenna face (also known as

                        “sectors”) through which the communications were sent and received.

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence of violations of

Title 18, United States Code, 924(a)(6) and/or 922(d), involving BROWN and others known and

unknown during the period January 1, 2023, to the Present.

         Law enforcement personnel, who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control, are

authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.




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         Case 2:23-mj-00069-WED           Filed 05/03/23    Page 17 of 24       Document 1
                CERTIFICATE OF AUTHENTICITY OF DOMESTIC
            RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE
                           902(11) AND 902(13)


       I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by T-Mobile, and my title is

_____________________________. I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state

that the records attached hereto are true duplicates of the original records in the custody of T-

Mobile. The attached records consist of ______________ [GENERALLY DESCRIBE

RECORDS (pages/CDs/megabytes)]. I further state that:


       a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of T-Mobile, and they were made by T-Mobile as a regular practice; and


       b.      such records were generated by T-Mobile electronic process or system that

produces an accurate result, to wit:


               1.       the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of T-Mobile in a manner to ensure that they are true duplicates of the

original records; and


               2.       the process or system is regularly verified by T-Mobile, and at all times

pertinent to the records certified here the process and system functioned properly and normally.



                                                  4

      Case 2:23-mj-00069-WED             Filed 05/03/23     Page 18 of 24       Document 1
        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




 Date                                  Signature




                                                   5

        Case 2:23-mj-00069-WED           Filed 05/03/23      Page 19 of 24       Document 1
                                                                                        ✔ Original
                                                                                        u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV
                                                                                                                                 May 03, 2023


                                           UNITED STATES DISTRICT COURT                                                          s/ D. Olszewski

                                                                            for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                               )
             (Briefly describe the property to be searched                     )
              or identify the person by name and address)                      )      Case No.       23       MJ        69
   information associated with a certain cellular telephone assigned call      )
    number (773) 552-2958, ("the SUBJECT PHONE”), that is stored at
       premises controlled by T-Mobile, a wireless telephone service           )
      provider headquartered at 4 Sylvan Way, Parsippany, NJ 07054             )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  Please see Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Please see Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before              5/17/2023                  (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. X at any time in the day or night because good cause has been established.
                                               u

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                  Honorable William E. Duffin                .
                                                                                                     (United States Magistrate Judge)

     ✔ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
     u
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ✔ for 30 days (not to exceed 30) u until, the facts justifying, the later specific date of
     u                                                                                                                                             .


Date and time issued:              5/3/2023 at 2:24 PM
                                                                                                             Judge’s signature

City and state:                     Milwaukee, WI                                       Honorable William E. Duffin, US Magistrate Judge
                                                                                                           Printed name and title
                       Case 2:23-mj-00069-WED                       Filed 05/03/23        Page 20 of 24          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                       Case 2:23-mj-00069-WED                        Filed 05/03/23      Page 21 of 24          Document 1
                                      ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to records and information associated with the cellular telephone

assigned call number (773) 552-2958, (“the Account”), that are stored at premises controlled by

T-Mobile (“the Provider”), headquartered at 4 Sylvan Way, Parsippany, NJ 07054.




      Case 2:23-mj-00069-WED          Filed 05/03/23      Page 22 of 24      Document 1
                                    ATTACHMENT B
                              Particular Things to be Seized
I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A for the time period January

1st, 2023, through the Present.

        a. The following information about the customers or subscribers of the Account:

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long-distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Protocol (“IP”) addresses) associated
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic
                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                   Integrated Services Digital Network Number (“MSISDN”); International
                   Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                   Equipment Identities (“IMEI”);

              vii. Other subscriber numbers or identities (including the registration Internet
                   Protocol (“IP”) address); and

              viii. Means and source of payment for such service (including any credit card
                    or bank account number) and billing records.


                                              2

     Case 2:23-mj-00069-WED          Filed 05/03/23     Page 23 of 24       Document 1
            b. All records and other information (not including the contents of communications)

                relating to wire and electronic communications sent or received by the Account,

                including:

                    i. the date and time of the communication, the method of the

                        communication, and the source and destination of the communication

                        (such as the source and destination telephone numbers (call detail

                        records), email addresses, and IP addresses); and

                    ii. information regarding the cell tower and antenna face (also known as

                        “sectors”) through which the communications were sent and received.

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence of violations of

Title 18, United States Code, 924(a)(6) and/or 922(d), involving BROWN and others known and

unknown during the period January 1, 2023, to the Present.

         Law enforcement personnel, who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control, are

authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.




                                                  3

         Case 2:23-mj-00069-WED           Filed 05/03/23    Page 24 of 24       Document 1
